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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

US BANK TRUST, N.A., AS TRUSTEE OF THE                         §
IGLOO SERIES III TRUST,                                        §
     Plaintiff,                                                §
                                                               §
                                                               §
vs.                                                            §          Civil Action No. 4:20-CV-01082
                                                               §
MICHAEL S. DOUGHERTY, JZAVELA-                                 §
ARETHEA DOUGHERTY, DATTAJUSTIN                                 §
TOSHIHIRO DOUGHERTY-WILLIAMS, AND                              §
INTERNATIONAL BANK OF COMMERCE,                                §
     Defendants.                                               §

                  US BANK’S SECOND MOTION FOR ORDER OF CONTEMPT
                      AGAINST JZAVELA-ARETHEA DOUGHERTY AND
            FIRST MOTION FOR CONTEMPT AGAINST DATTAJUSTIN DOUGHERTY

  TO THE HONORABLE JUDGE OF SAID COURT:

          NOW COMES U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF

  THE IGLOO SERIES III TRUST, ("U.S. Bank"), requesting the Court to once again hold

  JZAVELA-ARETHEA DOUGHERTY in contempt of the Court and to also hold

  DATTAJUSTIN DOUGHERTY in contempt of the Court, and as grounds therefore would show

  the Court as follows:

                        I. PROCEDURAL AND FACTUAL BACKGROUND

          1.       On July 2, 2021, U.S. Bank moved to obtain an order from this Court [Dkt. # 85]

  finding Jzavela-Arethea Dougherty in contempt of court for violating provisions of this Court’s

  March 16, 2021 Memorandum and Order [Dkt. #63] and May 3, 2021 Order of Sale [Dkt. #66]1.



  1
    U.S. Bank incorporates by reference their Motion for Order of Contempt [Dkt. #85] and all attachments to same as
  though fully filed and stated herein. Although U.S. Bank did not previously move for sanctions against Dattajustin
  Dougherty, because Jzavela-Arethea Dougherty was the only plaintiff listed on the two state court actions filed
  subsequent to this one, the egregiousness of the actions complained about in this motion compel U.S. Bank to
  include Dattajustin Dougherty in this motion. All of the arguments and evidence previously submitted to this Court
  in [Dkt. #85] related to refusing to vacate the property per the Court’s Order of Sale all apply to Dattajustin
  Dougherty as well. Rather than restate the previous motion in this current motion, U.S. Bank asks the Court to


  U.S. BANK’S SECOND MOTION FOR ORDER OF CONTEMPT AGAINST JZAVELA-ARETHEA DOUGHERTY AND
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After holding a hearing on the contempt motion on July 12, 2021, the Court GRANTED the

motion for contempt and entered an order as follows:

                 Defendant Jzavela-Aretha Dougherty is directed to vacate the
                 property in question. Defendant Dougherty is liable to Plaintiff for
                 $100 for every day she does not vacate the property. Defendant
                 Dougherty is also liable to Plaintiff for attorneys fees incurred as a
                 result of the two state court lawsuits filed after this Court issued
                 [63] Memorandum & Order. It is so ordered.

JZAVELA-ARETHEA DOUGHERTY was aware of the Court’s contempt orders because she

attended the hearing during which the Court’s ruling was announced. JZAVELA-ARETHEA

DOUGHERTY and DATTAJUSTIN DOUGHERTY as parties to this litigation both have notice

of this Court’s rulings and access to this Court’s docket.

        2.       On July 26, 2021, this Court entered its Order Confirming Sale [Dkt. #98], and

per the Order of Sale, “[o]n confirmation of the sale, all interests in, liens against, or claims to

the Property that are held or asserted by all defendants are discharged.” [Dkt. #66]. On July 29,

2021, the U.S. Marshal deeded the property to U.S. Bank, and the deed was recorded the same

day. See Exhibit A, attached hereto. U.S. Bank is the owner of the property commonly known

as 2534 Splintwood Court, Kingwood, TX 77345 (“the property”).

        3.       On June 3, 2021, a representative from Alta Realty Company, a company U.S.

Bank retained to oversee the property, accompanied U.S. Marshal Castro to the property,

changed the locks to the doors on the property, and installed a lockbox per this Court’s Order of

Sale [Dkt. #82]. See Declaration of Rochelle Jones, attached hereto as Exhibit B. At that time,

U.S. Marshal Castro physically removed JZAVELA-ARETHEA DOUGHERTY and

DATTAJUSTIN DOUGHERTY from the property [Dkt. #82]. Since that time, U.S. Bank’s real

estate company has performed weekly visits to the property. Exhibit B. On or about August 1,

2021, when performing the weekly visit to the property, the real estate company agent was

unable to gain access to the property. Id. Sometime between the real estate agent’s weekly visit

adopt the previous motion as though the same allegations regarding Jzavela-Arethea Dougherty’s refusal to vacate
the property were also reiterated here against Dattajustin Dougherty.


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to the property at the end of July 2021 and the August 1, 2021 visit to the property, someone,

presumably JZAVELA-ARETHEA DOUGHERTY and DATTA-JUSTIN DOUGHERTY or

someone acting at their request, changed out the locks to the doors of the property, removed the

real estate agent’s lockbox on the property and posted a notice on the door of the property. Id.

The real estate agent was not able to locate the lockbox, and the person who removed the

lockbox would likely have had to destroy the lockbox in order to remove it. Id. Photographs of

the unauthorized front door lock and the notice posted on the door are attached as Exhibit B-1

and Exhibit B-2 to this motion.

       4.      JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY

have repeatedly shown their utter disregard for this Court’s orders and authority. Their changing

the locks and destruction of personal property after this Court had already found JZAVELA-

ARETHEA DOUGHERTY in contempt illustrates their complete and total disrespect to the

Honorable Keith Ellison and the judicial process in general. The Dougherties’ flagrant violation

of this Court’s orders illustrates that monetary sanctions are insufficient to bring the Dougherties

in compliance with this Court’s orders.            JZAVELA-ARETHEA DOUGHERTY and

DATTAJUSTIN DOUGHERTY are willfully trespassing on US Bank’s property and flagrantly

violating numerous direct orders of this Court.

                              II. ARGUMENTS & AUTHORITY

       5.      Courts possess the inherent authority to enforce their own injunctive decrees

through civil contempt orders, and a district court may do so even after final judgment to

vindicate the sanctity of both its prior orders and the court system. Farmhand, Inc. v. Anel Eng’g

Indus., 693 F.2d 1140, 1145 (5th Cir. 1982); Waffenschmidt v. MacKay, 763 F.2d 711, 716 (5th

Cir. 1985); Brown v. Braddick, 595 F.2d 961, 965 (5th Cir. 1979) (holding that district court

retained jurisdiction to issue civil contempt order following final judgment where judgment had

not been appealed or superseded); Prater v. Commerce Equities Management Co., H-07-02349,



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2009 WL 172826 at *1 (S.D. Tex. 2009) (Rosenthal, J.) (same). Civil contempt orders have two

primary purposes: "to enforce, through coerciveness, compliance with a court's order . . . [and] to

compensate a party who has suffered unnecessary injuries or costs because of the contemptuous

conduct." United States v. Slaughter, 900 F.2d 1119 (7th Cir. 1990) (citing Shillitani v. United

States, 384 U.S. 364, 370-71, 86 S.Ct. 1531, 1535-36, 16 L.Ed.2d 622 (1966); United States v.

United Mine Workers, 330 U.S. 258, 304, 67 S.Ct. 677, 701, 91 L.Ed. 884 (1947); In re Hunt,

754 F.2d 1290, 1293 (5th Cir.1985); Smith v. Sullivan, 611 F.2d 1050, 1053 (5th Cir.1980);

United States v. Rizzo, 539 F.2d 458, 463 (5th Cir.1976)). A movant in a civil contempt

proceeding bears the burden of establishing by clear and convincing evidence: (1) that a court

order was in effect; (2) the order required certain conduct by the respondent; (3) the respondent

failed to comply with the Court’s order; and (4) the respondent knew of the Court’s order. Test

Masters Educational Services, Inc. v. Singh, 428 F.3d 559, 581-82 (5th Cir. 2005); Shafer v.

Army & Air Force Exchange Service, 376 F.3d 386, 396 (5th Cir. 2004); Travelhost, Inc. v.

Blandford, 68 F.3d 958, 961 (5th Cir. 1995); Symetra Life Ins. Co. v. Rapid Settlements, Ltd.,

No. H-05-3167, 2007 U.S. Dist. LEXIS 40332 at *14-15 (S.D. Tex. 2007). Failure to comply

consists of not taking "all the reasonable steps within [one's] power to insure compliance with the

order." Dynamic Sports Nutrition, Inc. v. Roberts, No. H-08-1929, 2009 U.S. Dist. LEXIS

131145 at *7 (S.D. Tex. 2009) (quoting Sekaquaptewa v. MacDonald, 544 F.2d 396, 406 (9th

Cir. 1976), cert. denied, 430 U.S. 931, 97 S.Ct. 1550, 51 L.Ed.2d 774 (1977). The clear and

convincing evidence standard is higher than the “preponderance of the evidence” standard

common in civil cases, but not as high as “beyond a reasonable doubt.” Travelhost, 68 F.3d at

961 (citing United States v. Rizzo, 539 F.2d 458, 465 (5th Cir. 1976)); Symetra Life Ins., H-05-

3167 at *15. Clear and convincing evidence, in the context of a contempt proceeding, is that




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weight of proof which produces in the mind of the trier of fact a firm belief or conviction as to

the truth of the allegations sought to be established, evidence so clear, direct and weighty and

convincing as to enable the fact finder to come to a clear conviction, without hesitancy, of the

truth of the precise facts of the case. Travelhost, 68 F.3d at 961; Symetra Life Ins., H-05-3167 at

*16.

         6.     The contemptuous conduct at issue need not be willful so long as the contemptor

actually failed to comply with the Court’s order. Am. Airlines, Inc. v. Allied Pilots Ass’n, 228

F.3d 574, 581 (5th Cir. 2000); Symetra Life Ins., H-07-3167 (Docket Entry No. 148 at p. 10). It is

clear, however, that good faith, advice of counsel, or belief that compliance is not possible are

not valid defenses to a contempt charge. United States v. Transocean Offshore, Inc., 276 F.3d

725, 728 (5th Cir. 2002); United States v. McCargo, 783 F.2d 507, 511 (5th Cir. 1986).

         7.    Once the Court finds contempt, it has broad discretion in assessing sanctions to

protect the sanctity of its decrees and the legal process. Test Masters, Inc., 428 F.3d at 582

(citing American Airlines, Inc. v. Allied Pilots Ass’n, 228 F.3d 574, 585 (5th Cir. 2000)). There

are two types of contempt – civil and criminal. See International Union, United Mine Workers of

America v. Bagwell, 512 U.S. 821, 114 S.Ct. 2552, 2556-57, 129 L.Ed.2d 642 (1994). Criminal

contempt is a crime “in the ordinary sense” and thus, all the constitutional rights afforded

criminal defenses must be provided to those charged with criminal contempt. Id. By contrast,

civil contempt constitutes penalties “designed to compel future compliance with a court order,

are coercive in nature and avoidable through compliance. Id. For these reasons, a court may

impose civil contempt sanctions in an ordinary civil proceeding upon notice and an opportunity

to be heard, and the court need not provide a jury trial. Id.

         8.    In the present case, on May 03, 2021, this Court specifically ordered all occupants




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of the Property to leave the property within 30 days of entry of the Order of Sale. U.S. BANK

has shown by clear and convincing evidence that JZAVELA-ARETHEA DOUGHERTY and

DATTAJUSTIN DOUGHERTY had knowledge of the Court’s March 16, 2021 Judgment and

the May 3, 2021 Order of Sale. U.S. BANK has shown by clear and convincing evidence that

JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY failed to comply

with the Order by continuing to stay on the property even after the Federal Marshal had them

removed. U.S. BANK has shown by clear and convincing evidence that JZAVELA-ARETHEA

DOUGHERTY blatantly disregarded this Court’s July 12, 2021 contempt order. There can be no

doubt that JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY are in

contempt of this Court’s Order of Sale. Accordingly, this Court should take immediate action to

enforce its orders. JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY

are vexatious litigants who have no regard for the orders, rules and procedures of this Court.

They will continue their contemptuous behavior unless this Court holds them in contempt and

sanctions them accordingly.

                                          III. PRAYER

        WHEREFORE, PREMISES CONSIDERED, U.S. BANK respectfully requests that the

Court conduct a hearing as soon as practical to determine the basis for JZAVELA-ARETHEA

DOUGHERTY’S and DATTAJUSTIN DOUGHERTY’S failure to comply with the Court's May

3, 2021 Order of Sale and July 12, 2021 Contempt Order and that both be commanded to appear

in person and show cause as to why they should not be held in further contempt of the Court;

Plaintiff requests that it’s lawyers be allowed to attend the hearing on this motion by telephone or

zoom;

        FURTHER, U.S. Bank respectfully requests this Court, upon finding that JZAVELA-

ARETHEA DOUGHERTY’S and DATTAJUSTIN DOUGHERTY are in contempt, to enter an



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Order authorizing and directing the United States Marshal and his/her deputies: (1) to take all

actions that are reasonably necessary to bring about the ejectment of JZAVELA-ARETHEA

DOUGHERTY and DATTAJUSTIN DOUGHERTY from the Property and/or any other

unauthorized person occupying the property; (2) to take all actions necessary to return the

property to U.S. Bank, including, but not limited to, retaining or supervising a locksmith or other

person to change or install locks or other security devices on any part of the property; and (3) to

take JZAVELA-ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY into custody

should they remain on and/or re-enter the Property, including the land on which the

improvements on the Property lies, or should they in any way interfere with or hamper U.S.

Bank’s access to or possession of the Property after the United States Marshal returns the

property to U.S. Bank.

        FURTHER, U.S. Bank respectfully requests this Court, upon finding JZAVELA-

ARETHEA DOUGHERTY and DATTAJUSTIN DOUGHERTY in contempt, to order them to

pay all costs of this proceeding, including U.S. BANK’S reasonable attorneys’ fees to draft and

file this motion to prove their contempt and to attend the hearing on this motion in the amount of

at least $2,500.00, the testimony supporting an award of same to be provided at said hearing;

        FURTHER, U.S. BANK respectfully requests this Court to order JZAVELA-ARETHEA

DOUGHERTY and DATTAJUSTIN DOUGHERTY to pay the costs of the U.S. Marshal’s

efforts in effectuating all activities to again take possession and control of the Property and to

return the Property to US Bank; and

        FURTHER, U.S. BANK requests such other and further relief to which it may show itself

to be justly entitled.




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                                     Respectfully submitted,


                                     ANDERSON  VELA, L.L.P.
                                     4920 Westport Drive
                                     The Colony, Texas 75056
                                     214.276.1545 – Telephone
                                     214. 276.1546 – Facsimile

                                     ATTORNEYS FOR PLAINTIFF US BANK


                                     By: /s/ Ray L. Vela                  .
                                          RICHARD E. ANDERSON
                                          Texas State Bar No. 01209010
                                          RAnderson@AndersonVela.com – E-mail
                                          RAY L. VELA
                                          State Bar No. 00795075
                                          S.D. Tex. Fed ID No. 20354
                                          RVela@AndersonVela.com – E-mail


                              CERTIFICATE OF CONFERENCE

        I certify that on this the 4th day of August 2021, I spoke by telephone with NICKOLAS
A. SPENCER, Esq. counsel for Jzavela-Arethea Dougherty and Dattajustin Dougherty the
instant case and discussed his client’s position as to the filing of this motion. Mr. Spencer told
me that he intends to withdraw as counsel of record in this case and he does not have a position
regarding this motion. As of the date of this filing Mr. Spencer remains the attorney for record
for Jzavela-Arethea Dougherty and Dattajustin Dougherty in the instant case.



                                             By: /s/ Ray L. Vela                  .
                                                Ray L. Vela




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                                CERTIFICATE OF SERVICE

      I certify that on this the 10th day of August 2021, a true copy of the above document has
been delivered to all defendants/parties in this case pursuant to the Federal Rules of Civil
Procedure.

                                       SERVICE LIST

NICKOLAS A. SPENCER, Esq.                   VIA E-FILING SERVICE AND/OR
9100 SOUTHWEST FRWY, STE 122                by E-Mail: nas@naslegal.com
HOUSTON, TX 77074
Attorney for Defendants Jzavela-Arethea
Dougherty & DattaJustin Toshihiro
Dougherty-Williams


Michael S. Dougherty
Pro Se
By e-mail: leanagileenterprises@gmail.com



INTERNATIONAL BANK OF                        BY REGULAR US MAIL
COMMERCE
ATTN: DENNIS NIXON
3800 MAPLE AVE.
DALLAS, TX 75219




                                            By: /s/ Ray L. Vela           .
                                               Ray L. Vela




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               EXHIBIT “A”
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                EXHIBIT “B”
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

US BANK TRUST, N.A., AS TRUSTEE OF THE                 §
IGLOO SERIES III TRUST,                                §
     Plaintiff,                                        §
                                                       §
                                                       §
vs.                                                    §        Civil Action No. 4:20-CV-01082
                                                       §
MICHAEL S. DOUGHERTY, JZAVELA-                         §
ARETHEA DOUGHERTY, DATTAJUSTIN                         §
TOSHIHIRO DOUGHERTY-WILLIAMS, AND                      §
INTERNATIONAL BANK OF COMMERCE,                        §
     Defendants.                                       §


                           DECLARATION OF ROCHELLE JONES


         1.      I, Rochelle Jones, make this Declaration pursuant to 28 U.S.C. § 1746. I am over

  the age of twenty-one (21), of sound mind, have never been convicted of a crime involving moral

  turpitude and am fully competent to provide this testimony and swear to the matters herein. The

  facts stated herein are within my personal knowledge and are true and correct.

         2.      I am employed as a real estate agent for ALTA REALTY COMPANY, who is the

  real estate agent for US BANK TRUST, N.A., AS TRUSTEE OF THE IGLOO SERIES III

  TRUST related to the property located at 2534 Splintwood Ct., Kingwood, Texas 77345 (the

  "Property"). By virtue of my employment with ALTA REALTY COMPANY, I have personal

  knowledge about the Property and events related to the Property as stated in this Declaration.

         3.      On June 3, 2021, an agent from ALTA REALTY COMPANY met with U.S.

  Marshal Castro at the Property and effectuated the changing of the locks on the doors of the

  Property and the installation of a real estate agent lockbox on the Property. The purpose of the

  lockbox was to allow authorized agents of ALTA REALTY COMPANY and U.S. Bank access to


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the Property as needed. Attached hereto and incorporated by reference as Exhibit B-3, is a true

and correct copy of an image that accurately depicts the condition of the front door of the Property

as it existed on or about June 19, 2021 that shows the real estate agent lock-box described herein.

       4.      Since June 3, 2021, agents of ALTA REALTY COMPANY, myself included, have

used the lockbox to gain entry into the Property on a weekly basis at a minimum. Agents of ALTA

REALTY COMPANY were able to access the Property through late July 2021 until August 1,

2021 at which time it was discovered that the lockbox was no longer on the Property, that the entry

locks to the Property had been changed, and that a notice was posted on the front door of the

Property. No one, including U.S. Bank, directed agents of ALTA REALTY COMPANY to

remove the lockbox. An unauthorized removal of the lockbox from the Property would require

the lockbox to be destroyed. As of the making of this Declaration, the lockbox has not been

returned to ALTA REALTY COMPANY and is presumed destroyed.

       5.      Attached hereto as Exhibit B-1 is an image that accurately depicts the unauthorized

electronic door lock that was installed on one of the doors of the Property as it existed on August

1, 2021. No person from my company and no agent for US Bank installed the electronic door lock

shown on Exhibit B-1. The electronic door lock depicted in Exhibit B-1 was not present at the

property on June 3, 2021 when our office changed the locks to the Property.

       6.      Attached hereto as Exhibit B-2 is a photograph that accurately depicts the notice

posted at the Property as it existed on August 1, 2021. This notice was posted on the inside of one

of the doors to the property.

       7.      ALTA REALTY COMPANY also set up utilities on the Property after discovering

that same had been disconnected.




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                                           EXHIBIT B-1

            Photo taken on August 1, 2021 of keypad lock placed on property by third party




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                                           EXHIBIT B-2



       Photo of notice posted on Property on 08/01/2021




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                                            EXHIBIT B-3

       Front door of Property as depicted on June 19, 2021 with lockbox on front door




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